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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND


JOHN DOE,                                      :
     Plaintiff,                                :
                                               :
v.                                             :               C.A. No.
                                               :
SALVE REGINA UNIVERSITY,                       :
     Defendant.                                :               JURY DEMAND



                                           COMPLAINT

                                               Parties

       1.      Plaintiff, John Doe (“Plaintiff”), is a resident of Hopatcong, New Jersey.

       2.      Defendant, Salve Regina University (“Salve”), is a non-profit corporation duly

formed and existing under the laws of the State of Rhode Island with a principal place of

business located at 100 Ochre Point Avenue, Newport, Rhode Island.

                                      Jurisdiction and Venue

       3.      Jurisdiction is proper pursuant to 28 U.S.C. § 1332 in that the parties are citizens

of different states and the amount in controversy exceeds $75,000.

       4.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 in that a substantial

part of the acts and omissions giving rise to these claims occurred in this district.

                                        Statement of Facts

       5.      In or about August 2018, Plaintiff began his senior year at Salve.

       6.      Plaintiff is scheduled to graduate in May 2019.

       7.      On March 29, 2019, J. Malcolm Smith, Salve’s Dean of Students and Title IX

Coordinator (“Dean Smith”) sent Plaintiff a Notice of Investigation & Charge (the “Notice”).



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       8.      The Notice states that another student (the “Complainant”) alleged Plaintiff

sexually assaulted her on March 25, 2019 (the “Complaint”) and that a sexual misconduct

investigation process had been initiated against Plaintiff for allegedly violating #2 of the sexual

misconduct policy in the Student Code of Conduct (the “Code of Conduct”).

       9.      The Complainant alleges that Plaintiff raped her and put his hands around her

throat and choked her to the point where she could not breath.

       10.     The Code of Conduct provides in pertinent part as follows:

               Actions/behaviors for which students are subject to disciplinary
               action include, but are not limited to the following:

                                     *      *       *       *
               2 – Violation of the Sexual Misconduct Policy
               Including but not limited to, sexual harassment, sexual assault,
               sexual exploitation, gender-based harassment, stalking, dating
               violence, domestic violence and retaliation.
               Note: If a student is charged with this violation, the adjudication
               process will follow the procedure listed in the Sexual Misconduct
               Policy which begins on page 39.

       11.     The Sexual Misconduct Policy provides for a fundamentally flawed and seriously

defective investigation and adjudication procedure. The procedure provides for the investigation

to be performed by two investigators who then act as the prosecutors, judge, and jury.

       12.     The Sexual Misconduct Policy provides in pertinent part as follows:

               All reports will be taken seriously and investigated and addressed in
               a timely fashion. Every reasonable effort will be made to preserve
               the privacy of all parties to the extent that the investigation allows.
               Only relevant information will be disclosed to those people with a
               need for information regarding the investigation. The case will be
               assigned to 2 investigators. The investigation may include, but is
               not limited to:

                                      *      *       *       *
               •   There is no right for any student to confront the complainant or
                   the respondent or to be present at the same time.



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                 •   The investigators determine the relevancy of what information
                     is included in the report.
                 •   The complainant and the respondent will have the opportunity
                     to read/review/respond and ask clarifying questions of/to the
                     investigative report.

                                        *      *       *      *
                 •   Copies of the final investigative report are not given to the
                     complainant or respondent; they can view it and take notes, but
                     copies or photographs are not allowed. The final report can also
                     be viewed by the advisor of their choice (of the
                     respondent/complainant).
                 •   When the investigation is completed, the investigators will
                     determine, based on the preponderance of the evidence, if a
                     violation of the sexual misconduct policy and/or student code of
                     conduct has occurred.

                                        *       *       *    *
                 •   In certain cases and circumstances, the University reserves the
                     right to use external investigators.

See Exhibit A.

       13.       Pursuant to the Sexual Misconduct Policy, “individuals found responsible for

violations of the nonconsensual sexual intercourse policy fac[e] a sanction of University

suspension or University expulsion” and “deviations from suspension or expulsion are rare.”

       14.       Salve appointed Johanna Mancivalano, Director of Conferences and Events and

James Mournighan, Director of Residence Life and Off Campus Housing as the investigators

(the “Investigators”) to conduct the investigation into the Complaint.

       15.       On March 30, 2019, Plaintiff’s advisor, John Grasso, Esq. (“Attorney Grasso”)

sent a letter to Dean Smith requesting that Salve conduct a live hearing with witnesses before a

panel of neutral participants rather than having the Investigators determine whether Plaintiff

violated the Code of Conduct without a hearing.

       16.       Dean Smith has not responded to Attorney Grasso’s request.




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       17.        The Investigators completed the report regarding their investigation into the

Complaint (the “Report”).

       18.        On April 22, 2019, Attorney Grasso sent a letter to Dean Smith requesting that

Salve provide Plaintiff and Complainant with a copy of the Report.

       19.        On April 22, 2019, Dean Smith denied Attorney Grasso’s request to receive a

copy of the Report.

       20.        On or about April 23, 2019, Salve allowed Attorney Grasso to review the Report

and take notes.

       21.        The Complainant identified three witnesses to support her allegations against

Plaintiff including Witness 3.

       22.        According to the Report, the following events occurred on March 25, 2019

immediately after the alleged rape:

                  a.     Complainant asked Plaintiff to drive her home.

                  b.     Complainant went for a jog by herself.

                  c.     Complainant Facetimed Witness 3 and did not tell him about the alleged

                         rape.

                  d.     Complainant went to Witness 3’s house and again did not tell Witness 3

                         about the alleged rape.

                  e.     Complainant went back to her house and told her roommate about the

                         alleged rape.

                  f.     Complainant called Witness 3 to tell him she was raped earlier that

                         evening.




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       23.     The Report did not set forth an explanation as to why Complainant did not tell

Witness 3 that she was raped when she saw him on the evening of March 25, 2019.

       24.     Plaintiff requested that the Investigators obtain proof that Complainant Facetimed

Witness 3 on the evening of March 25th to corroborate Complainant’s version of events.

       25.     The Investigators told Plaintiff they would consider his request, but have

otherwise not responded to Plaintiff’s request.

       26.     Upon information and belief, at all relevant times, Witness 3 has been an

employee of Salve.

       27.     Salve “prohibits consensual romantic and/or sexual relationships between

employees and undergraduate students.”

       28.     At all relevant times, Complainant has been an undergraduate student at Salve.

       29.     Upon information and belief, at all relevant times including on March 25, 2019,

Witness 3 has been engaged in a romantic relationship with Complainant.

       30.     On April 27, 2019, Attorney Grasso sent a letter to Dean Smith again expressing

his concern about being denied a copy of the Report also raising issues about the substance of the

Report including the Complainant’s relationship with Witness 3 and the Investigators’ failure to

investigate the relationship.

       31.     Attorney Grasso requested in his April 27, 2019 letter that Salve suspend the

adjudication of the Complaint and assign the investigation to an external investigator with

investigation experience.

       32.     On April 28, 2019, Attorney Grasso sent a letter to Dean Smith with a recent

photograph of Complainant and Witness 3 stating “[h]aving made at least some connection

between the complaining student and one of her witnesses, it was incumbent upon [the



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Investigators] to determine the extent of their relationship and to report that information to the

respondent.”

        33.     Dean Smith has not responded to Attorney Grasso’s April 27, 2019 and April 28,

2019 letters.

        34.     Dean Smith has determined that Plaintiff has until Sunday, May 5, 2019 to

respond to the Report and then the Investigators will prepare a final report and determine

whether Plaintiff sexually assaulted Complainant in violation of the Code of Conduct.

                                            COUNT I
                                        Breach of Contract

        35.     The prior paragraphs are incorporated herein by reference as if set forth in their

entirety.

        36.     Salve breached the Code of Conduct and Sexual Misconduct Policy by, among

other things, (i) imposing a fundamentally unfair investigative process, (ii) failing to conduct a

meaningful investigation, much less a fair investigation, (iii) denying Plaintiff’s request for an

external investigator or at least a trained investigator, (iv) denying Plaintiff’s request for a copy

of the Report, (v) implementing a system that has the investigators acting as investigator,

prosecutor, judge, and jury, (vi) denying Plaintiff’s request for a hearing before a neutral panel,

(vii) denying Plaintiff the opportunity to cross-examine Complainant and her witnesses, (viii)

failing to investigate the relationship between Complainant and her key witness, Witness 3, and

(ix) denying Plaintiff due process.

        37.     Plaintiff fulfilled all of his obligations under the Code of Conduct and Sexual

Misconduct Policy or was otherwise excused from doing so under the circumstances.




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        38.    As a proximate result of Salve’s breach, Plaintiff will incur substantial damages

and will be irreparably harmed if the Investigators determine Plaintiff violated the Sexual

Misconduct Policy.

                                            COUNT II
                                            Negligence

        39.    The prior paragraphs are incorporated herein by reference as if set forth in their

entirety.

        40.    At all relevant times, Salve owed a duty of care to Plaintiff as a student to conduct

a reasonable and fair investigation into the Complaint.

        41.    Salve disregarded its duty by, among other things, failing to (i) provide Plaintiff

with a copy of the Report, (ii) appoint Investigators with training in or experience with

investigating serious sexual assault allegations, (iii) appoint an external investigator as requested

by Plaintiff, (iv) investigate the relationship between Complainant and her key witness, Witness

3, (v) have a hearing before a neutral panel, (vi) allow Plaintiff to cross-examine Complainant

and her witnesses, (vii) conduct a reasonable and fair investigation into the Complaint, and/or

(viii) otherwise exercise due care under the circumstances.

        42.    Plaintiff acted with due care under the circumstances at all times.

        43.    As a proximate result of Salve’s negligence, Plaintiff will incur substantial

damages and will be irreparably harmed if the Investigators determine Plaintiff violated the

Sexual Misconduct Policy.

                                           COUNT III
                                         Injunctive Relief

        44.    The prior paragraphs are incorporated herein by reference as if set forth in their

entirety.



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        45.     As a matter of equity, this Court should temporarily restrain and preliminarily and

permanently enjoin Salve from having the Investigators complete the final report and make a

determination as to whether Plaintiff violated the Code of Conduct.

        46.     As a matter of equity, this Court should order Salve to (i) engage an external

investigator or someone with training and/or experience to investigate the Complaint, (ii)

produce a copy of the Report to Plaintiff, (iii) allow Plaintiff the opportunity for a hearing, (iv)

allow Plaintiff the opportunity to cross-examine Complainant and her witnesses, and (v) have

neutral third-parties other than the Investigators determine whether Plaintiff violated the Code of

Conduct.

        WHEREFORE, Plaintiff prays that a judgment for the following relief be entered in his

favor and against Defendant:

        (a)     for compensatory damages to be determined by the trier of fact at trial;

        (b)     for an order preliminarily and permanently enjoining Salve from having the

Investigators complete the final report and make a determination as to whether Plaintiff violated

the Code of Conduct and ordering Salve to (i) engage an external investigator or someone with

training and/or experience to investigate the Complaint, (ii) produce a copy of the Report to

Plaintiff, (iii) allow Plaintiff the opportunity for a hearing, (iv) allow Plaintiff the opportunity to

cross-examine Complainant and her witnesses, and (v) have neutral third-parties other than the

Investigators determine whether Plaintiff violated the Code of Conduct.

        (c)     reasonable attorneys’ fees and costs; and

        (d)     such other and further relief as the Court deems just and proper.

PLAINTIFF DEMANDS TRIAL BY JURY AS TO ALL ISSUES SO TRIABLE.




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                                         JOHN DOE,
                                         Plaintiff,
                                         By his Attorneys,



                                         /s/ Stephen J. Brouillard
                                         Stephen J. Brouillard, Esq. #6284
                                         Theresa L. Sousa, Esq. #7745
                                         Bianchi Brouillard Sousa & O’Connell, P.C.
                                         56 Pine Street, Suite 250
                                         Providence, RI 02903
                                         (401) 223-2990 telephone
                                         (877) 548-4539 facsimile
                                         sbrouillard@bbsolaw.com
                                         tsousa@bbsolaw.com

Dated: May 1, 2019




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